Case 1:15-cv-00826-JMS-TAB Document 20 Filed 08/28/15 Page 1 of 1 PageID #: 120




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 BRENDA PARKER,                                       )
                               Plaintiff,             )
                                                      )
        v.                                            )      Case No. 1:15-cv-00826-JMS-TAB
                                                      )
 CAPITAL ONE AUTO FINANCE, CAPITAL                    )
 ONE, NATIONAL ASSOCIATION N.A., et al.               )
                                                      )
                               Defendants.            )

                               Entry Discussing Motion to Object

        The Court screened the plaintiff’s complaint in the Entry of June 22, 2015, and dismissed

 some claims and allowed others to proceed. On July 2, 2015, the plaintiff filed a motion to object

 to the Court’s entry. On July 13, 2015, the plaintiff filed an amended complaint. Her motion to

 object [dkt. 9] is now denied as moot in light of the filing of the amended complaint. The amended

 complaint filed on July 13, 2015, is the operative pleading in this case. The Court will screen the

 amended complaint in due course.

        IT IS SO ORDERED.


 Date: __________________
           08/28/2015




 Distribution:

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 Electronically registered counsel
